     Case 9:20-ap-01011-MB          Doc 31 Filed 02/24/20 Entered 02/24/20 16:13:28          Desc
                                     Main Document Page 1 of 2

75 1   Law Offices of
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       kgrant@silcom.com
5
                                                                    CLERK U.S. BANKRUPTCY COURT
6      Attorneys for Janet K. Ganong Estate and                     Central District of California
                                                                    BY handy      DEPUTY CLERK
       Living Trust
7

8                                   UNITED STATES BANKRUPTCY COURT

9                     CENTRAL DISTRICT OF CALIFORNIA- NORTHERN DIVISION

10
       In re                                          )   CASE NO. 9:19-bk-11573-MB
11                                                    )   (Chapter 7)
       HVI Cat Canyon, Inc.                           )
12                                                    )   ADV. NO. 9:20-ap-01011-MB
                      Debtor.                         )
13                                                    )   ORDER APPROVING STIPULATION TO
       ________________________________               )   EXTEND TIME PERIOD FOR DEFENDANT
14                                                    )   TO RESPOND TO COMPLAINT FOR
       Michael A. McConnell, Chapter 11               )   DECLARATORY RELIEF
15     Trustee                                        )
                                                      )
16                            Plaintiff,              )   Status Conference
       Vs.                                            )   Date:   April 17, 2020
17                                                    )   Time:   10:00 a.m.
       Donna Jean AAnerud et al.,                     )   Place: 1415 State St Ctr 201
18                                                    )           Santa Barbara, CA 93101
                              Defendants.             )   Judge: Martin R. Barash
19
               The Court having considered the Stipulation to Extend Time
20
       period for Defendant to Respond to Complaint for Declaratory Relief
21
       between      Pplaintiff        Michael   A.   McConnell,    Chapter       11     Trustee
22
       (“Plaintiff”) and Creditor and Defendant Janet K. Ganong Estate and
23
       Living Trust (“Defendant Ganong”), and good cause appearing,
24
               IT IS HEREBY ORDERED THAT:
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               1.     Counsel for Defendant Ganong will accept service of the
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       Complaint and that Defendant Ganong will have an additional fourteen
27
       days (14) days, without prejudice to request a further extension, in
28
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                     1      which to file a response to the Complaint.

                     2              2.     The deadline for Defendant Ganong only, and no other

                     3      defendant, to respond to the Complaint will be extended to March 6,

                     4      2020.

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                  23          Date: February 24, 2020

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Law Offices of
KAREN L. GRANT
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                                                                       2
